Case 2:19-cv-00133-RGK Document 13 Filed 02/07/19 Page 1 of 18 Page ID #:1500



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       2029 Century Park East, 33rd Floor
  5    Los Angeles, CA 90067
       Telephone: (424) 386-4000/Facsimile: (213) 629-
  6    5063
  7    Counsel for Appellee Official Committee of
       Unsecured Creditors of Verity Health System
  8    of California, Inc., et al.,
  9                                  UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
 10
                                    WESTERN DIVISION – LOS ANGELES
 11
       In re:                                                District Court Case Number:
 12
       Verity Health System of California, Inc.,                     2:19-cv-00133-DMG
 13    et al.,1
                                                             Bankruptcy Court Lead Case Number:
 14             Debtors and Debtors In Possession.
                                                                     2:18-bk-20151-ER
 15
                                                             Adversary Case Number: N/A
 16    Xavier Becerra
       Attorney General of California,                       NOTICE OF APPELLEE OFFICIAL
 17                                                          COMMITTEE OF UNSECURED
                                 Appellant,                  CREDITORS OF VERITY HEALTH
 18                                                          SYSTEM OF CALIFORNIA, INC.
                v.                                           REGARDING (I) DESIGNATION AS A
 19                                                          PROPER APPELLEE BEFORE THIS
       County of Santa Clara, Verity Health                  COURT AND (II) INTENT TO OPPOSE
 20    System of California, Inc., et al., and               THE CALIFORNIA ATTORNEY
       Official Committee of Unsecured Creditors             GENERAL’S MOTION FOR STAY
 21    of Verity Health System of California, Inc.,          PENDING APPEAL [DISTRICT COURT
       et al.                                                DOCKET NO. 6]
 22
                                 Appellees.
 23

 24
      1
        The other Debtors in the chapter 11 cases, being jointly administered under Lead Case No. 2:18-bk-20151-ER, are
 25   O’Connor Hospital 2:18-bk-20168-ER, Saint Louise Regional Hospital 2:18-bk-20162-ER, St. Francis Medical Center
      2:18-cv-20165-ER, St. Vincent Medical Center 2:18-bk-20164-ER, Seton Medical Center 2:18-cv-20167-ER,
 26   O’Connor Hospital Foundation 2:18-bk-20179-ER, Saint Louise Regional Hospital Foundation 2:18-cv-20172-ER, St.
      Francis Medical Center of Lynwood Foundation 2:18-cv-20178-ER, St. Vincent Foundation 2:18-cv-20180-ER, St.
 27   Vincent Dialysis Center, Inc. 2:18-cv-20171- ER Seton Medical Center Foundation 12:8-cv-20175-ER, Verity
      Business Services 2:18-cv-20173-ER, Verity Medical Foundation 2:18-cv-20169-ER, Verity Holdings, LLC 2:18-cv-
 28   20163-ER, DePaul Ventures, LLC 2:18-cv-20176-ER, and DePaul Ventures - San Jose Dialysis, LLC 2:18-cv-20181-
      ER.


      #4822-2297-4087
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  1            PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors of Verity
  2   Health System of California, Inc., et al. (the “Committee”), appointed in the chapter 11 cases of
  3   the above-captioned debtors and debtors in possession (the “Debtors”), is a proper appellee (an
  4   “Appellee,” and, collectively, one of the “Appellees”) in the above-captioned appeal (the
  5   “Attorney General Appeal”), which is now pending before this Court.
  6            PLEASE TAKE FURTHER NOTICE that the Attorney General commenced the
  7   Attorney General Appeal by filing its Notice of Appeal and Statement of Election [District Court
  8   Dkt No. 1] on January 7, 2019, in which it erroneously named the Debtors and the County of
  9   Santa Clara, but not the Committee, as Appellees.
 10            PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court denied the Attorney
 11   General’s request for a stay pending appeal with respect to the Attorney General Appeal,
 12   entering, on February 5, 2019, its Order Denying California Attorney General’s Motion to Stay
 13   the Court’s Order (A) Authorizing the Sale of Certain of the Debtors’ Assets to Santa Clara
 14   County Free and Clear of Liens, Claims, Encumbrances, and Other Interests Pending Appeal of
 15   the Court’s Memorandum of Decision Overruling Objections of the California Attorney General
 16   and Sale Order [Bankruptcy Dkt. No. 1464] (the “Stay Denial Order”), a true and correct copy if
 17   which is attached as Exhibit A hereto.
 18            PLEASE TAKE FURTHER NOTICE that the Committee, which is a body appointed
 19   by the United States Trustee pursuant to 11 U.S.C. § 1102(a), submitted opposition papers and
 20   participated at argument as to the Stay Denial Order, all as reflected in the true and correct copy
 21   of the Bankruptcy Court’s Tentative Ruling attached as Exhibit B hereto.
 22            PLEASE TAKE FURTHER NOTICE that the Committee, in participating at argument
 23   as to the Stay Denial Order, was seeking to comply with the duties imposed on it by 11 U.S.C. §
 24   1103 and was exercising the broad “party-in-interest” rights conferred on it by 11 U.S.C. §
 25   1109(b). In light of such duties and rights, official committees have invariably been granted
 26   standing to participate in appeals from bankruptcy court orders. See Southern Pacific Transp. Co.
 27   v. Voluntary Purchasing Groups, Inc., 227 B.R. 788 (E.D. Tex. 1998) (“person aggrieved”
 28   principles and statutory right granted to official committee under 11 U.S.C. 1109(b) to appear and


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Case 2:19-cv-00133-RGK Document 13 Filed 02/07/19 Page 3 of 18 Page ID #:1502



  1   be heard on any issue in bankruptcy case extended to both trial and appellate court proceedings,
  2   and gave committee right to participate, and to file its own brief in support of bankruptcy court’s
  3   decision); see also In re General Store of Beverly Hills, 11 B.R. 539 (9th Cir. BAP 1981)
  4   (granting official committee right to participate in appeal on behalf of its members); In re Elkins
  5   Energy Corporation, 7 B.R. 971, 973 n. 4 (W.D. Va. 1980) (observing that official committee
  6   could have brought appeal on behalf of its members to challenge interim award of attorney’s
  7   fees).
  8            PLEASE TAKE FURTHER NOTICE that the Committee, as a proper Appellee with
  9   respect to the Attorney General Appeal, intends to oppose the Attorney General’s Motion to Stay
 10   Pending Appeal of Bankruptcy Court’s Order Authorizing Sale of Certain of Debtors’ Assets to
 11   Santa Clara County Free and Clear of Liens, Claims, Encumbrances, and Other Interests
 12   [District Court. Dkt. No. 6], which threatens the health care access of residents of Santa Clara
 13   County and which would cause irreparable injury to the Debtors and their creditors.
 14

 15    Dated: February 7, 2019                       MILBANK, TWEED, HADLEY & McCLOY LLP
 16
                                                     By:  /s/ Gregory A. Bray
 17                                                  GREGORY A. BRAY
                                                     MARK SHINDERMAN
 18                                                  JAMES C. BEHRENS
 19                                                  Counsel for Appellee Official Committee of
                                                     Unsecured Creditors of Verity Health System of
 20                                                  California, Inc., et al.
 21

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                                               samuel.maizel@dentons.com
                                           2   JOHN A. MOE, II (Bar No. 066893)
                                               john.moe@dentons.com                                                        FILED & ENTERED
                                           3   TANIA M. MOYRON (Bar No. 235736)
                                               tania.moyron@dentons.com
                                           4   DENTONS US LLP                                                                     FEB 05 2019
                                               601 South Figueroa Street, Suite 2500
                                           5   Los Angeles, California 90017-5704
                                               Tel: (213) 623-9300 / Fax: (213) 623-9924                                     CLERK U.S. BANKRUPTCY COURT
                                                                                                                             Central District of California
                                           6                                                                                 BY evangeli DEPUTY CLERK
                                               Attorneys for the Chapter 11 Debtors and
                                           7   Debtors In Possession
                                                                       UNITED STATES BANKRUPTCY COURT
                                           8             CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                           9   In re                                                Lead Case No. 2:18-bk-20151-ER

                                          10   VERITY HEALTH SYSTEM OF                              Jointly Administered With:
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                               CALIFORNIA, INC., et al.,
                                          11                                                        Case No. 2:18-bk-20162-ER
                                                       Debtors and Debtors In Possession.           Case No. 2:18-bk-20163-ER
         DENTONS US LLP




                                          12                                                        Case No. 2:18-bk-20164-ER
            (213) 623-9300




                                                                                                    Case No. 2:18-bk-20165-ER
                                          13    Affects All Debtors
                                                                                                    Case No. 2:18-bk-20167-ER
                                                                                                    Case No. 2:18-bk-20168-ER
                                          14    Affects Verity Health System of California, Inc.
                                                                                                    Case No. 2:18-bk-20169-ER
                                                Affects O’Connor Hospital
                                                                                                    Case No. 2:18-bk-20171-ER
                                          15    Affects Saint Louise Regional Hospital
                                                                                                    Case No. 2:18-bk-20172-ER
                                                Affects St. Francis Medical Center
                                                                                                    Case No. 2:18-bk-20173-ER
                                          16    Affects St. Vincent Medical Center
                                                                                                    Case No. 2:18-bk-20175-ER
                                                Affects Seton Medical Center
                                                                                                    Case No. 2:18-bk-20176-ER
                                          17    Affects O’Connor Hospital Foundation
                                                                                                    Case No. 2:18-bk-20178-ER
                                                Affects Saint Louise Regional Hospital
                                                                                                    Case No. 2:18-bk-20179-ER
                                          18     Foundation
                                                                                                    Case No. 2:18-bk-20180-ER
                                                Affects St. Francis Medical Center of Lynwood
                                                                                                    Case No. 2:18-bk-20181-ER
                                          19     Foundation
                                                Affects St. Vincent Foundation                     Hon. Judge Ernest M. Robles
                                          20    Affects St. Vincent Dialysis Center, Inc.
                                                                                                    ORDER DENYING CALIFORNIA ATTORNEY
                                                Affects Seton Medical Center Foundation
                                                                                                    GENERAL’S MOTION TO STAY THE COURT’S ORDER
                                          21    Affects Verity Business Services
                                                                                                    (A) AUTHORIZING THE SALE OF CERTAIN OF THE
                                                Affects Verity Medical Foundation
                                                                                                    DEBTORS’ ASSETS TO SANTA CLARA COUNTY FREE
                                          22    Affects Verity Holdings, LLC                       AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES,
                                                Affects De Paul Ventures, LLC                      AND OTHER INTERESTS PENDING APPEAL OF THE
                                          23    Affects De Paul Ventures - San Jose ASC, LLC       COURT’S MEMORANDUM OF DECISION
                                                                                                    OVERRULING OBJECTIONS OF THE CALIFORNIA
                                          24               Debtors and Debtors In Possession.       ATTORNEY GENERAL AND SALE ORDER [DOCKET
                                                                                                    NO. 1219]
                                          25
                                                                                                    Hearing:
                                                                                                    Date:          January 30, 2018
                                          26                                                        Time:          10:00 a.m.
                                                                                                    Location:      Courtroom 1568, 255 E. Temple St., Los
                                          27                                                                       Angeles, CA
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                                           1            At the above-referenced date, time, and location, the Court held a hearing on the

                                           2   California Attorney General’s Motion To Stay The Court’s Order (A) Authorizing The Sale Of

                                           3   Certain Of The Debtors’ Assets To Santa Clara County Free And Clear Of Liens, Claims,

                                           4   Encumbrances, And Other Interests Pending Appeal Of The Court’s Memorandum Of Decision

                                           5   Overruling Objections Of The California Attorney General And Sale Order (the “Motion”)

                                           6   [Docket No. 1219]. Appearances were as set forth on the record.

                                           7            Having considered the Debtors’ opposition to the Motion and the declarations of Richard

                                           8   G. Adcock, Jeffrey Smith, Paul E. Lorenz, John Mills and Sarah H. Cody in support thereof

                                           9   [Docket Nos. 1301, 1308, and 1337], the Debtors’ evidentiary objections to the declaration of

                                          10   Alicia Berry [Docket No. 1302], the County of Santa Clara’s Joinder in Debtors’ Opposition to
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                          11   California Attorney General’s Motion to Stay Sale Order [Docket No. 1334], the Official
         DENTONS US LLP




                                          12   Committee of Unsecured Creditors’ Objection to California Attorney General’s Motion for Stay
            (213) 623-9300




                                          13   Pending Appeal [Doc. No. 1318], the Attorney General’s reply to the various oppositions [Docket

                                          14   No. 1365], and the Court’s relevant prior decisions and orders, including the Memorandum of

                                          15   Decision Overruling Objections of the California Attorney General to the Debtors’ Sale Motion

                                          16   [Docket No. 1146], and Order (A) Authorizing the Sale of Certain of the Debtors’ Assets to Santa

                                          17   Clara County Free and Clear of Liens, Claims, Encumbrances, and Other Interests; (B)

                                          18   Approving the Assumption and Assignment of an Unexpired Lease Related Thereto; and (C)

                                          19   Granting Related Relief [Doc. No. 1153]; and the Court having found that the Attorney General

                                          20   provided appropriate notice of the Motion and the opportunity for a hearing on the Motion under
                                          21   the circumstances; and for the reasons set forth in the Court’s tentative ruling [Doc. No. 1418],

                                          22   which the Court adopts as its final ruling and which is incorporated herein by reference,

                                          23            IT IS HEREBY ORDERED THAT:
                                          24            The Motion is denied with prejudice.
                                          25            IT IS SO ORDERED.
                                          26
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 LOS ANGELES, CALIFORNIA 90017-5704




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         DENTONS US LLP




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            (213) 623-9300




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                                          24   Date: February 5, 2019

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                                 EXHIBIT B
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                              United States Bankruptcy Court
                               Central District of California
                                         Los Angeles
                                 Judge Ernest Robles, Presiding
                                   Courtroom 1568 Calendar

Wednesday, January 30, 2019                                                  Hearing Room      1568

10:00 AM
2:18-20151      Verity Health System of California, Inc.                                  Chapter 11

    #9.00    HearingRE: [1219] Motion To Stay Pending Appeal (related documents 1207 Notice of
             Appeal and Statement of Election (Official Form 417A))

                                   Docket       1219

  Matter Notes:
      1/30/2019



      The amended tentative ruling will be the order.
      Party to lodge order: Movant

      POST PDF OF Amended TENTATIVE RULING TO CIAO

  Tentative Ruling:
      1/30/19

           For the reasons set forth below, the California Attorney General’s Motion—which
      seeks a stay pending appeal of the Sale Order—is DENIED. (Amended after hearing
      to itemize the declarations filed in support of the Debtors’ Opposition that the Court
      considered.)

      Pleadings Filed and Reviewed:
      1) California Attorney General’s Motion to Stay the Court’s Order (A) Authorizing
         the Sale of Certain of the Debtors’ Assets to Santa Clara County Free and Clear of
         Liens, Claims, Encumbrances, and Other Interests Pending Appeal of the Court’s
         Memorandum of Decision Overruling Objections of the California Attorney
         General and Sale Order [Doc. No. 1219] (the "Motion")
         a) Application for Order Setting Hearing on Shortened Notice [Doc. No. 1220]
         b) Order: (1) Denying California Attorney General’s Application for a Hearing
             on Shortened Notice and (2) Setting Hearing on Attorney General’s Motion for

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                             United States Bankruptcy Court
                              Central District of California
                                        Los Angeles
                                Judge Ernest Robles, Presiding
                                  Courtroom 1568 Calendar

Wednesday, January 30, 2019                                                 Hearing Room       1568

10:00 AM
CONT...        Verity Health System of California, Inc.                                   Chapter 11
              Stay Pending Appeal for January 30, 2019, at 10:00 a.m. [Doc. No. 1226]
           c) Notice of Hearing on [Motion] [Doc. No. 1235]
      2)   Debtors’ Opposition to [Motion] [Doc. No. 1301]
           a) Declaration of Richard G. Adocock [Doc. No. 1301]
              i) Submission of Signature Page of Declaration of Richard G. Adcock in
                   Support of Opposition [Doc. No. 1308]
           b) Declaration of John Mills [Doc. No. 1301]
           c) Declaration of Paul E. Lorenz [Doc. No. 1301]
           d) Declaration of Jeffrey Smith, M.D., J.D. [Doc. No. 1301]
           e) Declaration of Sara Cody, M.D. [Doc. No. 1301]
              i) Submission of Signature Page of Declaration of Sara H. Cody in Support
                   of Opposition [Doc. No. 1337]
           f) The County of Santa Clara’s Joinder in Debtors’ Opposition to California
              Attorney General’s Motion to Stay Sale Order [Doc. No. 1334]
           g) Objection to Declaration of Alicia Berry in Support of [Motion] [Doc. No.
              1302]
      3)   Official Committee of Unsecured Creditors’ Objection to California Attorney
           General’s Motion for Stay Pending Appeal [Doc. No. 1318]
      4)   Reply to Oppositions Filed by Debtors, County of Santa Clara, and the Official
           Creditors’ Committee to California Attorney General’s [Motion] [Doc. No. 1365]
      5)   Relevant Prior Decisions and Orders of the Court:
           a) Memorandum of Decision Overruling Objections of the California Attorney
              General to the Debtors’ Sale Motion [Doc. No. 1146]
           b) Order (A) Authorizing the Sale of Certain of the Debtors’ Assets to Santa
              Clara County Free and Clear of Liens, Claims, Encumbrances, and Other
              Interests; (B) Approving the Assumption and Assignment of an Unexpired
              Lease Related Thereto; and (C) Granting Related Relief [Doc. No. 1153] (the
              "Sale Order")


      I. Facts and Summary of Pleadings
          On August 31, 2018 (the “Petition Date”), Verity Health Systems of California
      (“VHS”) and certain of its subsidiaries (collectively, the “Debtors”) filed voluntary
      petitions for relief under Chapter 11 of the Bankruptcy Code. On August 31, 2018, the
      Court entered an order granting the Debtors’ motion for joint administration of the
      Debtors’ Chapter 11 cases. Doc. No. 17.


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                             United States Bankruptcy Court
                              Central District of California
                                         Los Angeles
                                 Judge Ernest Robles, Presiding
                                   Courtroom 1568 Calendar

Wednesday, January 30, 2019                                                   Hearing Room      1568

10:00 AM
CONT...       Verity Health System of California, Inc.                                    Chapter 11
          On December 19, 2019, the Court conducted a hearing on the Debtors’ motion for
      authorization to sell Saint Louise Regional Hospital (“St. Louise”) and O’Connor
      Hospital (“O’Connor,” and together with St. Louise, the “Hospitals”) to the County of
      Santa Clara (“Santa Clara”). On December 26, 2018, the Court entered a
      Memorandum of Decision Overruling Objections of the California Attorney General
      to the Debtors’ Sale Motion [Doc. No. 1146] (the “Sale Memorandum”). Among
      other things, the Sale Memorandum found that the Debtors were authorized to sell the
      Hospitals, free and clear of various conditions imposed by the Attorney General in
      connection with a 2015 restructuring transaction (the “Conditions”). On December 27,
      2018, the Court entered an Order (A) Authorizing the Sale of Certain of the Debtors’
      Assets to Santa Clara County Free and Clear of Liens, Claims, Encumbrances, and
      Other Interests; (B) Approving the Assumption and Assignment of an Unexpired
      Lease Related Thereto; and (C) Granting Related Relief [Doc. No. 1153] (the "Sale
      Order"). The sale is currently projected to close on March 4, 2019.
          On January 7, 2019, the California Attorney General (the “Attorney General”)
      appealed the Sale Order. On January 9, 2019, the Attorney General filed a motion to
      stay the Sale Order pending appeal (the “Motion”), and filed an application seeking a
      hearing on the Motion on shortened notice (the “Application”). The Court declined to
      hear the Motion on shortened notice for the following reasons:

              The Application assumes that an emergency hearing on the Motion is
              necessary to prevent the California Attorney General’s appeal of the [Sale
              Order] … from becoming statutorily moot pursuant to § 363(m) of the
              Bankruptcy Code. Pursuant to the Asset Purchase Agreement, the transactions
              authorized by the Sale Order cannot close until after hearings on the Debtors’
              motions seeking authorization to modify and/or reject various collective
              bargaining agreements, which are scheduled to take place on January 30, 2019.
              Section 363(m)’s statutory mootness provisions are not triggered unless (a) the
              Attorney General fails to obtain a stay pending appeal (b) prior to the closing
              of the transactions contemplated by the Sale Order. See, e.g., Brown v. Ellman
              (In re Brown), 851 F.3d 619, 622 (6th Cir.), cert. denied sub nom. Brown v.
              Ellmann, 138 S. Ct. 328, 199 L. Ed. 2d 212 (2017) (“appeals from a
              bankruptcy court’s decision to grant the trustee authority to sell certain
              property are moot if the appellant has failed to obtain a stay from the
              bankruptcy court’s order and the trustee has already conveyed the property to
              a bona fide purchaser for value”) (emphasis added). In the Court’s view, the


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                             United States Bankruptcy Court
                              Central District of California
                                         Los Angeles
                                 Judge Ernest Robles, Presiding
                                   Courtroom 1568 Calendar

Wednesday, January 30, 2019                                                   Hearing Room       1568

10:00 AM
CONT...       Verity Health System of California, Inc.                                     Chapter 11
              Attorney General’s fear that his appeal of the Sale Order will become
              statutorily moot absent an emergency hearing on the Motion is not well
              founded.

      Order: (1) Denying California Attorney General’s Application for a Hearing on
      Shortened Notice and (2) Setting Hearing on Attorney General’s Motion for Stay
      Pending Appeal for January 30, 2019, at 10:00 a.m. [Doc. No. 1226] (footnotes
      omitted).

      Summary of Papers Filed in Connection with the Motion
          In support of his contention that he is likely to prevail upon appeal, the Attorney
      General reiterates the arguments that he made in opposition to the Sale Motion. The
      Attorney General asserts that absent a stay pending appeal, he will suffer irreparable
      injury, based on the possibility that his appeal of the Sale Order may become
      statutorily moot. The Attorney General contends that the balance of hardships weighs
      in favor of a stay. According to the Attorney General, a stay will only minimally affect
      the Debtors by slightly delaying a distribution to creditors. Finally, the Attorney
      General asserts that a stay is in the public interest because it would allow him to
      continue enforcing the Conditions, thereby vindicating his policy and regulatory
      powers.
          The Debtors oppose the Motion. The Debtors contend that the Attorney General is
      not likely to prevail upon appeal because he has not shown that the sale is subject to
      his review. The Debtors dispute the Attorney General’s contention that he will suffer
      irreparable harm absent a stay. Richard Adcock, the CEO of Debtor VHS, testifies
      that if a stay pending appeal is granted, “the Sale will be in material danger of
      collapsing and not closing.” Adcock Decl. at ¶6.
          The Official Committee of Unsecured Creditors (the “Committee”) opposes the
      Motion. The Committee contends that if the sale is not timely consummated, the
      likely outcome will be that the Hospitals will be shut down and the Debtors’ estates
      liquidated.
          In his Reply to the Oppositions submitted by the Debtor and the Committee, the
      Attorney General notes that Santa Clara has not made a legally binding commitment
      to provide various healthcare services required by the Conditions, which the Attorney
      General contends are essential. The Attorney General disputes the assertion that a stay
      will cause the sale to collapse.



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      II. Findings and Conclusions
          At the outset, the Court addresses the Debtors’ evidentiary objections to the
      Declaration of Deputy Attorney General Alicia Berry (the “Berry Decl.”). The Berry
      Decl. summarizes actions undertaken by the Attorney General in connection with the
      imposition of the Conditions, including the retention of a healthcare expert who
      assisted in developing the Conditions. The Debtors object to the Berry Decl. as
      hearsay, arguing that the declaration is an effort to introduce the expert testimony of
      an unidentified healthcare expert.
          The Court will consider the Berry Decl., but only for the purpose of providing
      background information relating to the imposition of the Conditions. Because the
      healthcare expert has not been identified and has not submitted a declaration, the
      Berry Decl. provides no evidentiary support for arguments regarding the effect of the
      Conditions on public health and safety.
          Turning to the merits, the Attorney General’s application for a stay pending appeal
      of the Sale Order is denied. Pursuant to Fed. R. Bankr. P. 8007(a)(1), the Court may
      issue a stay of a judgment, order, or decree pending appeal. In determining whether to
      grant a stay pending appeal, the Court considers the following four factors:
              (1) whether the stay applicant has made a strong showing that he is likely to
              succeed on the merits; (2) whether the applicant will be irreparably injured
              absent a stay; (3) whether issuance of the stay will substantially injure the
              other parties interested in the proceeding; and (4) where the public interest
              lies.
      Nken v. Holder, 556 U.S. 418, 426 (2009).
          As the Supreme Court has explained, a stay pending appeal
                  "is not a matter of right, even if irreparable injury might otherwise result."
              Virginian R. Co., 272 U.S., at 672, 47 S.Ct. 222. It is instead "an exercise of
              judicial discretion," and "[t]he propriety of its issue is dependent upon the
              circumstances of the particular case." Id., at 672–673, 47 S.Ct. 222; see Hilton,
              supra, at 777, 107 S.Ct. 2113 ("[T]he traditional stay factors contemplate
              individualized judgments in each case"). The party requesting a stay bears the
              burden of showing that the circumstances justify an exercise of that
              discretion….
                  The first two factors of the traditional standard are the most critical. It is
              not enough that the chance of success on the merits be "better than negligible."
              … By the same token, simply showing some "possibility of irreparable injury,"
              Abbassi v. INS, 143 F.3d 513, 514 (C.A.9 1998), fails to satisfy the second


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CONT...        Verity Health System of California, Inc.                                       Chapter 11
              factor.
      Id. at 433–35.
          To be entitled to a stay pending appeal, the moving party must make a “minimum
      permissible showing” with respect to each of the four factors. Leiva-Perez v. Holder,
      640 F.3d 962, 965 (9th Cir. 2011). Provided the moving party meets a minimum
      threshold as to each factor, the Court may “balance the various stay factors once they
      are established.” Id. at 965. Under this balancing approach, a stronger showing of
      irreparable harm can offset a weaker showing of likelihood of success on the merits,
      and vice versa—provided that the minimum threshold with respect to each factor has
      been established. Id. at 965–66; see also id. at 964 (“Petitioner must show either a
      probability of success on the merits and the possibility of irreparable injury, or that
      serious legal questions are raised and the balance of hardships tips sharply in
      petitioner’s favor. These standards represent the outer extremes of a continuum, with
      the relative hardships to the parties providing the critical element in determining at
      what point on the continuum a stay pending review is justified.”).

      1. Likelihood of Success on the Merits
          As the Ninth Circuit has explained:
                   The first showing a stay petitioner must make is "a strong showing that he
              is likely to succeed on the merits." Id. at 1761 (quoting Hilton, 481 U.S. at
              776, 107 S.Ct. 2113) (quotation marks omitted). There is some uncertainty as
              to the exact degree of likely success that stay petitioners must show, due
              principally to the fact that courts routinely use different formulations to
              describe this element of the stay test. What is clear, however, is that to justify a
              stay, petitioners need not demonstrate that it is more likely than not that they
              will win on the merits….
                   There are many ways to articulate the minimum quantum of likely success
              necessary to justify a stay—be it a "reasonable probability" or "fair prospect,"
              as Hollingsworth, 130 S.Ct. at 710, suggests; "a substantial case on the
              merits," in Hilton’s words, 481 U.S. at 778, 107 S.Ct. 2113; or, as articulated
              in Abbassi, 143 F.3d at 514, that "serious legal questions are raised." We think
              these formulations are essentially interchangeable, and that none of them
              demand a showing that success is more likely than not. Regardless of how one
              expresses the requirement, the idea is that in order to justify a stay, a petitioner
              must show, at a minimum, that she has a substantial case for relief on the
              merits.


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      Leiva-Perez, 640 F.3d at 967–68.
          The Attorney General has failed to demonstrate that he is likely to succeed on the
      merits. The Sale Memorandum set forth in detail the Court’s reasons for overruling
      the Attorney General’s opposition to the Sale Motion. In the instant Motion, the
      Attorney General reiterates arguments previously rejected by the Court. The Attorney
      General does not present any new arguments showing that reconsideration of the
      findings contained in the Sale Memorandum is warranted.
          Of particular significance is the Attorney General’s inability to identify any
      specific provision of California law that provides him with either authority to review
      the sale, or authority to insist that the Conditions continue to apply subsequent to the
      sale. In the Sale Memorandum, the Court explained why the Attorney General lacked
      the ability to review the sale under Cal. Corp. Code §§ 5914–30. See Sale
      Memorandum at 9–11. The Court then noted that the Attorney General had not
      identified any specific provision of California law establishing his authority to review
      the sale. Id. The Attorney General still has not identified any specific statutory
      provision that establishes his authority to review the sale.

       2. Irreparable Injury
           The Attorney General argues that he will be irreparably injured absent a stay
       because the closing of the sale, in conjunction with the Court’s finding that Santa
       Clara is a good-faith purchaser within the meaning of § 363(m), will render an appeal
       moot. As a result, the Attorney General argues, he will be unable to obtain appellate
       review of an important issue affecting the welfare of the people of California.
           Outside the bankruptcy context, the Ninth Circuit has held that the certainty that
       an appeal will become moot is enough to constitute irreparable injury. See Artukovic
       v. Rison, 784 F.2d 1354, 1356 (9th Cir.1986). However, within bankruptcy, a majority
       of courts have concluded that mootness does not demonstrate irreparable injury. See,
       e.g., Ohanian v. Irwin (In re Irwin), 338 B.R. 839, 853 (E.D. Cal. 2006) (“It is well
       settled that an appeal being rendered moot does not itself constitute irreparable
       harm”); In re Red Mountain Mach. Co., 451 B.R. 897, 908-09 (Bankr. D. Ariz. 2011)
       (internal citations omitted) ("[T]he law is clear in the Ninth Circuit that irreparable
       injury cannot be shown solely from the possibility that an appeal may be moot"); In re
       Convenience USA, Inc., 290 B.R. 558, 563 (Bankr. M.D.N.C. 2003) (stating that “a
       majority of the cases which have considered the issue have found that the risk that an
       appeal may become moot does not, standing alone, constitute irreparable injury” and
       citing cases).


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          This Court addressed the Attorney General’s motion for a stay pending appeal in
      In re Gardens Reg’l Hosp. & Med. Ctr., Inc., 567 B.R. 820, 831–32 (Bankr. C.D. Cal.
      2017), appeal dismissed, No. 2:16-BK-17463-ER, 2018 WL 1229989 (C.D. Cal. Jan.
      19, 2018). On the facts presented in Gardens, the Court found that the likelihood of
      mootness did amount to irreparable harm, although it found the question to be a close
      one. Id. The Court explained that the "inquiry is complicated in this case by the fact
      that the Attorney General seeks review of an important issue of state law that will
      likely recur in future bankruptcy cases." Id.
          As set forth above, despite having been provided multiple opportunities to do so,
      the Attorney General still has not identified the specific statutory provision
      establishing his authority to review the sale or to insist upon continued applicability of
      the Conditions. The legal arguments raised by the Attorney General here are far
      weaker than the arguments presented in Gardens. Given the lack of merit in the
      Attorney General’s arguments, the Court finds that the likelihood of mootness does
      not constitute irreparable injury.

      3. Balance of the Hardships
          The injury to the Debtors and to other stakeholders resulting from issuance of a
      stay will be substantially greater than the injury to the Attorney General from denial of
      a stay. Richard Adcock, the CEO of Debtor VHS, testifies that if the Sale Order is
      stayed, “it is my opinion that the sale will be in material danger of collapsing and not
      closing.” Adcock Decl. at ¶6. Mr. Adcock’s testimony is corroborated by the
      testimony of Jeffrey Smith, the County Executive for the County of Santa Clara. Mr.
      Smith testifies that stay “would effectively terminate the [sale] Transaction.” Smith
      Decl. at ¶8.
          The Debtors have expended significant resources in reliance upon the Sale Order.
      More than 100 people have been working with representatives of Santa Clara County
      to effectuate the transfer of the Hospitals’ operations. Id. at ¶7. Among other things,
      the parties have spent significant time preparing a Transition Services Agreement;
      transferring the Hospitals’ information technology functions to Santa Clara County;
      communicating with the public regarding the transition; conducting job fairs to
      facilitate the transition; attending to various accounting and financial management
      issues; and preparing legal documents necessary for the transition. Id. at ¶10. If the
      sale collapses, all of that work will have been wasted.
          A stay of the Sale Order would harm employee morale at the Hospitals by creating
      additional uncertainty. Following entry of the Sale Order, 104 employees who worked


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      at the Hospitals between September 4, 2018 and December 28, 2018 have left. Mills
      Decl. at ¶13. The uncertainty created by a stay could cause more employees to leave,
      further damaging the Hospital’s operations.
          By contrast, denial of a stay will most likely result in the Attorney General being
      unable to obtain appellate review of the Court’s decision. This injury is less severe
      than the injuries that would be suffered by the Debtors and other stakeholders were a
      stay issued, because the Court has found that the Attorney General’s appeal is unlikely
      to succeed and does not raise serious legal questions.

      4. Public Interest
          The public interest weighs strongly against staying the Sale Order. The most
      probable outcome of a stay would be the collapse of the sale. If the sale collapsed,
      there is a strong possibility that the Debtors would lack sufficient funds to maintain
      operations pending a sale to another buyer, and would be required to close the
      Hospitals. Closure of the Hospitals, even if it were temporary, would severely harm
      the public interest.
          The Attorney General’s theory is that public health and welfare can be adequately
      protected only if he has the opportunity to enforce the Conditions. This argument
      overlooks the reality that enforcement of the Conditions would likely lead Santa Clara
      to withdraw from the sale. The Hospitals would then likely be closed for an extended
      period time until a sale to a new buyer could be consummated. Far from protecting
      public health and welfare, a stay would set in motion a series of events that, in all
      probability, would reduce the availability of healthcare services to the public.

          No appearance is required if submitting on the court’s tentative ruling. If you
      intend to submit on the tentative ruling, please contact Jessica Vogel or Daniel
      Koontz, the Judge’s Law Clerks, at 213-894-1522. If you intend to contest the
      tentative ruling and appear, please first contact opposing counsel to inform them
      of your intention to do so. Should an opposing party file a late opposition or appear
      at the hearing, the court will determine whether further hearing is required. If you
      wish to make a telephonic appearance, contact Court Call at 888-882-6878, no later
      than one hour before the hearing.

                                      Party Information
  Debtor(s):
       Verity Health System of California,         Represented By
                                                     Samuel R Maizel
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                                                   John A Moe II
                                                   Tania M Moyron
                                                   Claude D Montgomery
                                                   Sam J Alberts
                                                   Shirley Cho
                                                   Patrick Maxcy




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